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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

B.J. SMITH, BRADFORD ZINN,      )
and JERED ROSS,                 )
                                )                  Case No. 22-CV-02048
                 Plaintiffs,    )
v.                              )
                                )
HIGHLAND COMMUNITY              )
COLLEGE (HCC), THE BOARD OF     )
TRUSTEES FOR HCC, RUSSELL KARN, )
DEBORAH FOX, and BRYAN DORREL, )
                                )
                 Defendants.    )



       COMES NOW Plaintiffs B.J. Smith, Bradford Zinn and Jered Ross, and Defendants

Highland Community College (“HCC”), the Board of Trustees for HCC, Russell Karn, Deborah

Fox and Bryan Dorrel, by and through their counsel of record, and move this Court for entry of

the Revised Protective Order, attached hereto as Exhibit A and submitted to the Court’s Chambers

as of the date of this Motion.

Respectfully submitted.


/s/    William C. Odle
William C. Odle               KS#14235
The Odle Law Firm, LLC
6½ East First Street, Suite 2
Parkville, Missouri 64152
Phone: (816) 631-5220
Facsimile: (816) 631-5225
Email: wodle@odlelawfirm.com
ATTORNEY FOR PLAINTIFFS
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                             /s/       Sean M. Sturdivan
                             Sean M. Sturdivan     KS Bar No. 21286
                             Tracy M. Hayes        KS Bar No. 23119
                             Kaitlin Marsh-Blake KS Bar No. 26462
                             SANDERS WARREN & RUSSELL LLP
                             Compass Corporate Centre
                             11225 College Boulevard, Suite 450
                             Overland Park, Kansas 66210
                             Phone: (913) 234-6100
                             Facsimile: (913) 234-6199
                             Email: s.sturdivan@swrllp.com
                             Email: t.hayes@swrllp.com
                             Email: k.marsh-blake@swrllp.com
                             ATTORNEYS FOR DEFENDANTS




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